     Case: 1:16-cv-04011 Document #: 1 Filed: 04/05/16 Page 1 of 25 PageID #:1



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS

TARAN ASSET MANAGEMENT, LLC,

              Plaintiff,

v.                                                   No.

MARK VARACCHI, JASON RHODES,
CONCEPT FUND SERVICES, LLC f/k/a
CONCEPTONE LLC, SKYHAWK CAPITAL
PARTNERS, LLC, J. LAUREN HOLDING
CO. INC. d/b/a ADVANCED DATA
INTEGRATION, PARALLEL
COMPUTATIONS, INC., COMMUNIQUE
COMPLIANCE & COMMUNICATIONS,
LLC, a/k/a COMMUNIQUE, LLC d/b/a C3,
LLC, SENTINEL GROWTH FUND
MANAGEMENT LLC, BASELINE
ADVISORS LLC, RADAR ALTERNATIVE
FUND LP and UNKNOWN JOHN DOES,

              Defendants.

                                       COMPLAINT

       Plaintiff Taran Asset Management, LLC (“TAM”) respectfully files its Complaint against

Defendants Mark Varacchi (“Varacchi”), Jason Rhodes (“Rhodes”), Concept Fund Services,

LLC f/k/a ConceptONE LLC (“Concept”), Skyhawk Capital Partners, LLC (“Skyhawk”), J.

Lauren Holding Co. Inc. d/b/a/ Advanced Data Integration (“ADI”), Parallel Computations, Inc.

(“Parallel”), Communique Compliance & Communications, LLC, a/k/a Communique, LLC d/b/a

C3, LLC (“C3”), Sentinel Growth Fund Management LLC (Sentinel Growth”), Baseline

Advisors LLC (“Baseline”) and Radar Alternative Fund LP (“Radar” and, collectively with

Sentinel Growth and Baseline, “Sentinel”), and unknown John Does.          In support of its

Complaint, TAM states as follows:




                                             -1-
      Case: 1:16-cv-04011 Document #: 1 Filed: 04/05/16 Page 2 of 25 PageID #:2



                                        INTRODUCTION

       1.      TAM is an asset management company for a hedge fund – Taran Capital US

Fund, LLP (“Taran Capital”).

       2.      Just like any other company in the financial industry, TAM necessarily relies

upon the loyalty and fidelity of its operations and risk officers in order to achieve success.

       3.      Between February 2012 and March 2015, Varacchi served as TAM’s chief

operations officer.

       4.      Between April 2012 and June 2013, Varacchi engaged Concept to provide risk

management services to TAM.

       5.      In his capacity as Concept’s director of its risk management group, Rhodes was

authorized by Concept to provide TAM with risk management services and effectively serve as

TAM’s outside chief risk officer.

       6.      While serving as TAM’s operations and risk officers, Varacchi and Concept,

through Rhodes, used their respective positions of authority to falsify, manufacture and

otherwise manipulate TAM’s financial accounts, employment records, payroll records, accounts

payable invoices, and other of TAM’s books and records, in order to divert TAM’s funds to each

of Defendants, including Sentinel, which is a hedge fund created by Varacchi and Rhodes in

April 2013.

       7.      Varacchi’s unlawful misconduct occurred under Concept’s supervision and with

the assistance of Rhodes.

       8.      During a comprehensive audit of its books and records in the fall of 2015, TAM

discovered that Varacchi and Concept, through Rhodes, embezzled more than $980,000.00 from

the company.



                                                 -2-
      Case: 1:16-cv-04011 Document #: 1 Filed: 04/05/16 Page 3 of 25 PageID #:3



       9.      Based on the actions referenced above and set forth in greater detail herein, TAM

seeks to recover for damages suffered as a result of the unlawful conduct by Defendants.

Specifically, this action asserts claims for: (1) violation of the Computer Fraud and Abuse Act,

18 U.S.C. § 1030 (the “CFAA”) (Count I); (2) violation of the Racketeer Influenced and Corrupt

Organizations Act, 18 U.S.C. §§ 1961 et seq. (“RICO”) (Count II); (3) breach of fiduciary duty

(Count III); (4) aiding and abetting breach of fiduciary duty (Count IV); (5) unjust enrichment

(Count V); (6) civil conspiracy (Count VI); (7) negligent misrepresentation (Count VII); and

(8) fraudulent misrepresentation (Count VIII).

                                          THE PARTIES

       10.     Taran Asset Management, LLC is a Delaware limited liability company, with its

principal place of business located in Highland Park, Illinois. Taran Asset Management, LLC’s

sole member is Christopher Gleason (“Gleason”), who is a citizen of Illinois.         Gleason’s

principal place of residence is located in Highland Park, Illinois.

       11.     Varacchi is an individual who is a citizen of Connecticut. Varacchi’s principal

place of residence is located in Norwalk, Connecticut.

       12.     Rhodes is an individual who is a citizen of Connecticut. Rhodes’s principal place

of residence is located in Norwalk, Connecticut.

       13.     Concept is a Delaware limited liability company with its principal place of

business in New York. Upon information and belief, Concept’s sole member is Anthony Gallo

who, on information belief, is a citizen of New York.

       14.     Skyhawk is a Connecticut limited liability company with its principal place of

business located in Connecticut.      Upon information and belief, Rhodes is Skyhawk’s sole

member. Rhodes is a citizen of Connecticut.



                                                 -3-
      Case: 1:16-cv-04011 Document #: 1 Filed: 04/05/16 Page 4 of 25 PageID #:4



       15.     ADI is a Connecticut corporation with its principal place of business located in

Connecticut. Upon information and belief, William Powers (“Powers”) is the owner of ADI.

       16.     C3 is a New York limited liability company with its principal place of business

located in New York.      Upon information and belief, C3’s sole member is Irwin Menken

(“Menken”) who, on information belief, is a citizen of New York.

       17.     Parallel is a New York corporation with its principal place of business located in

New York. Upon information and belief, Kryspin Ziemski (“Ziemski”) is the owner of Parallel.

       18.     Sentinel Growth is a Delaware limited liability company with its principal place

of business located in Stamford, Connecticut. Upon information and belief, Sentinel Growth’s

members are Varacchi and Rhodes, who are both citizens of Connecticut.

       19.     Baseline is a Delaware limited liability company with its principal place of

business located in New York. Upon information and belief, Baseline’s members are Varacchi

and Rhodes, who are both citizens of Connecticut.

       20.     Radar is a Delaware limited partnership with its principal place of business

located in New York. Upon information and belief, Radar’s partners are Varacchi and Rhodes,

who are both citizens of Connecticut.

       21.     The unknown John Doe defendants are other individuals or corporations who

have participated in Defendants’ unlawful scheme.

                                JURISDICTION AND VENUE

       22.     The jurisdiction of this Court is based upon diversity of jurisdiction pursuant to 28

U.S.C. § 1332, in that the parties are of diverse citizenship and the amount in controversy

exceeds $75,000, exclusive of interest and costs.

       23.     Additionally, the Court has subject matter jurisdiction over this action pursuant to

28 U.S.C. § 1331 because the counts alleging violations of the CFAA and RICO present a

                                                -4-
      Case: 1:16-cv-04011 Document #: 1 Filed: 04/05/16 Page 5 of 25 PageID #:5



federal question. The Court has supplemental jurisdiction over the related state law claims

pursuant to 28 U.S.C. § 1367 because they arise out of the same case or controversy.

        24.     This Court has personal jurisdiction over the Defendants because, as detailed

above and in the following paragraphs, each of them: (i) conducts, engages in or carries on a

business or business venture in this State; (ii) committed a tortious act within this State; and/or

(iii) is engaged in substantial and not isolated activity in this State.

        25.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because a substantial

part of the events and omissions giving rise to the claims occurred in this District.

        26.     By way of example only, Gleason primarily managed TAM’s business from this

District. In managing TAM’s business from this District, Gleason regularly communicated with

Varacchi, Rhodes, Concept and Sentinel from this District.             Additionally, Varacchi visited

Gleason several times in Illinois, both as TAM’s chief operations officer and, separately, on

Sentinel’s behalf.     Moreover, Concept regularly provided certain services to TAM and,

specifically, Gleason, in this District. Further, Gleason regularly transferred TAM’s funds from

this District to TAM’s accounts in New York, and many of those funds were duplicitously used

by Defendants to advance their misconduct.

                                   FACTUAL BACKGROUND

A.      Taran’s Formation

        27.     On or about February 14, 2012, TAM and Taran Capital (collectively, “Taran”)

commenced their operations as a hedge fund with a focus on both long and short equity

investments.

        28.     While Taran Capital was the investing arm of the fund, TAM provided the fund’s

management services and paid for the fund’s expenses, such as rent, payroll, payroll taxes, and

other services provided to the fund a whole.

                                                   -5-
      Case: 1:16-cv-04011 Document #: 1 Filed: 04/05/16 Page 6 of 25 PageID #:6



       29.     In exchange for TAM’s services and payment of the bulk of the fund’s expenses,

Taran Capital paid TAM a management fee.

       30.     According to Taran’s operative governance documents, only Gleason, as the

fund’s sole managing member, was allowed to open, maintain and close bank accounts and draw

checks or other orders for payment from the fund. Similarly, Taran’s operative governance

documents allowed only Gleason to enter into, make and perform any undertakings that he

deemed advisable to conduct the business of the fund.         These responsibilities belonged to

Gleason alone unless he appointed an agent to exercise such duties.

       31.     Shortly before February 14, 2012, TAM hired Varacchi to serve as TAM’s chief

operations officer.

       32.     Prior to serving as TAM’s chief operations officer, Varacchi previously held the

same position at Quidnet Capital Partners, LLC (“Quidnet”).

       33.     On information and belief, Varacchi left Quidnet because he drained Quidnet’s

assets much in the same way that he later depleted TAM’s assets.

       34.     As TAM’s chief operations officer, Varacchi was responsible for, inter alia,

developing investor relationships, raising funds, directing TAM’s payroll and coordinating

Taran’s trading files to their respective risk management and account brokerage firms.

       35.     Neither Taran nor Gleason, as the fund’s managing member, authorized Varacchi

to maintain TAM’s bank accounts or sign Gleason’s name on TAM’s behalf.

       36.     In April 2012, Varacchi retained Concept to provide TAM with certain risk

management, accounting and operational services.




                                               -6-
      Case: 1:16-cv-04011 Document #: 1 Filed: 04/05/16 Page 7 of 25 PageID #:7



       37.     In fact, before being retained by TAM, Concept touted its ability to provide TAM

with extensive risk management services, outsourced accounting and operational services, as

well as office space.

       38.     Concept also represented that, as the director of its risk management group,

Rhodes was authorized by Concept to effectively serve as TAM’s outside chief risk officer.

       39.     TAM reasonably relied on Concept’s representations and retained Concept for

certain outsourced accounting and operational services.

       40.     Additionally, TAM rented certain office space from Concept so that TAM could

also have a New York office.

       41.     Further, Taran reasonably relied upon the apparent authority of Rhodes to serve as

Concept’s risk management representative to TAM and thereafter paid Concept for Rhodes

services as TAM’s outside chief risk officer.

       42.     As TAM’s outside chief risk officer, Concept, through Rhodes, was responsible

for developing and maintaining the quantitative analytics to support TAM’s risk monitoring

framework for its existing investments, proposed investments and investment strategies.

Additionally, Concept, through Rhodes, was responsible for coordinating with the front and back

office teams at TAM to ensure that the company operated according to its approved strategies

and other risk guidelines.

B.     Defendants’ Fraudulent Misconduct

       43.     Shortly after they commenced providing services for TAM, Varacchi and

Concept, through Rhodes, surreptitiously established certain practices regarding Taran’s

brokerage and bank accounts without the authorization, knowledge or approval of TAM or

Gleason, as its managing member.



                                                -7-
      Case: 1:16-cv-04011 Document #: 1 Filed: 04/05/16 Page 8 of 25 PageID #:8



       44.     For example, Varacchi and Concept, through Rhodes, conspired with four

companies - specifically, Skyhawk, ADI, C3 and Parallel (collectively, the “Sham Vendors”) –

so that the Sham Vendors would send invoices to TAM for services that were never provided to

the company.

       45.     In fact, Varacchi and Concept, through Rhodes, created Skyhawk and ADI by

manufacturing company formation documents and fabricating invoices, with each invoice

seeking thousands of dollars for services that were purportedly provided to TAM. True and

correct copies of certain invoices from Skyhawk and ADI are attached hereto as Group Exhibit 1

and Group Exhibit 2, respectively.

       46.     The other Sham Vendors – C3 and Parallel – are companies that are known to

provide services to other companies, but never provided any services to TAM.

       47.     According to the bank account information provided by Skyhawk to TAM’s

accounts payable vendor, Convergex, the address for Skyhawk’s principal place of business is

Rhodes’s home address in Norwalk, Connecticut.

       48.     Similarly, the remaining Sham Vendors registered their respective addresses for

their principal places of business to the home addresses of Varacchi’s business partners and,

upon information and belief, co-conspirators.

       49.     Specifically, the addresses registered to ADI, C3 and Parallel through Convergex

are the home addresses of Messrs. Powers, Menken and Ziemski, respectively.

       50.     Importantly, none of the Sham Vendors provided any services to TAM.

       51.     In fact, as Varacchi and Concept, through Rhodes, knew all along, TAM paid

other entities besides the Sham Vendors for precisely the same services that were supposedly

provided by the Sham Vendors.



                                                -8-
      Case: 1:16-cv-04011 Document #: 1 Filed: 04/05/16 Page 9 of 25 PageID #:9



       52.     Between February 2012 and June 2013, Varacchi and Concept, through Rhodes,

embezzled over $430,000.00 from TAM by coordinating payments to the Sham Vendors through

TAM’s soft-dollar line of credit at Convergex.

       53.     Without TAM’s knowledge or consent, the payments made by TAM to the Sham

Vendors were retained by Varacchi and Concept, through Rhodes, for their benefit and for the

benefit of Sentinel – which Varacchi and Rhodes created while serving as TAM’s chief operating

and risk officers, respectively.

       54.     Additionally, TAM paid over $60,000.00 to Concept from its account at

Convergex for “risk management” and accounting services that allowed Varacchi and Rhodes to

coordinate the embezzlement of TAM’s funds to the Sham Vendors.

       55.     Moreover, in or around April 2012, Varacchi altered, and forged Gleason’s

signature on, Taran’s brokerage account documents at BTIG, LLC (“BTIG”) to make it difficult,

if not impossible, for BTIG and Taran’s fund administrator, SS&C Technologies (“SS&C”), to

communicate with Taran’s accounting firm, KPMG.

       56.     Specifically, for Taran’s account with BTIG, Varacchi updated the brokerage

account documents with faulty telephone numbers and addresses for KPMG.

       57.     As a result, SS&C and BTIG could not contact KPMG, and vice versa, to ensure

that the appropriate “checks and balances” were in place to prevent the corrupt practices of

Varacchi and Rhodes.

       58.     Further, in or around March 2012, Varacchi recorded himself as the signor for

TAM’s bank account at J.P. Morgan.

       59.     As Varacchi knew at the time that he recorded himself as the signor for TAM’s

bank accounts at J.P. Morgan, Taran’s operative documents expressly provide that Gleason, as



                                                 -9-
    Case: 1:16-cv-04011 Document #: 1 Filed: 04/05/16 Page 10 of 25 PageID #:10



the fund’s managing member, is the only eligible signor for any of Taran’s documents, including

TAM’s bank account at J.P. Morgan.

       60.     By April 2012, Varacchi obtained an ATM card for TAM’s bank account. This

ATM card was issued for Varacchi’s use only, and a similar card was not issued to Gleason.

       61.     In total, between April 2012 and January 2014, Varacchi used the ATM card over

80 times and spent nearly $25,000 in cash withdrawals or purchases from TAM’s account.

       62.     As just one example of Varacchi’s unauthorized and suspicious use of the ATM

card, within just three days between October 9, 2012 and October 11, 2012, Varacchi made eight

consecutive cash withdrawals for a total of $3,960.00.

       63.     Varacchi’s purchases and withdrawals while using the ATM card were made

without TAM’s authorization, knowledge or consent.

       64.     Additionally, between June 2012 and April 2013, Varacchi manipulated TAM’s

accounting records to reflect that he loaned tens of thousands of dollars to TAM.

       65.     After claiming that he made loans to TAM, Varacchi withdrew thousands of

dollars from TAM’s account at J.P. Morgan and further manipulated TAM’s books and records

to reflect that the loans he purportedly made were paid back by the company.

       66.     In fact, TAM’s bank account records reflect that Varacchi never made any loans

to the company.

       67.     On information and belief, Varacchi noted these embezzled monies as “loans” so

that he would not have to report the stolen funds as “income” to the IRS.

       68.     Varacchi’s falsifications of Taran Management’s books and records were made

without TAM’s authorization, knowledge or consent.




                                              -10-
    Case: 1:16-cv-04011 Document #: 1 Filed: 04/05/16 Page 11 of 25 PageID #:11



        69.       Moreover, between April 2012 and March 2013, Varacchi manipulated TAM’s

employment and payroll records to reflect that the salaries for certain of TAM’s employees were

higher than their actual salaries.

        70.       Specifically, Varacchi inflated TAM’s accounting records of employee salaries

and paid those employees a portion of the salaries stated in those records.

        71.       Instead, Varacchi collectively kept for his own personal benefit the remaining

amount of the affected employees’ salaries.

        72.       To effectuate his scheme, Varacchi manipulated TAM’s accounting records to

reflect that he paid its employees in full when, in reality, he paid the employees via cashier’s

checks and represented to them that he was “holding back” the rest of their salaries for purposes

of paying federal payroll and social security taxes.

        73.       To that end, Varacchi requested, and Gleason approved, for TAM to contract with

a separate company, TriNet Ambrose, so that TriNet Ambrose would coordinate TAM’s payroll

and effectuate the proper withholdings and payments of TAM’s federal payroll and social

security taxes.

        74.       While Varacchi represented to Gleason that he entered into the payroll contract

with TriNet Ambrose on TAM’s behalf, Varacchi never did so.

        75.       For example, on March 3, 2013, Varacchi represented to Gleason that he

(Varacchi) coordinated TAM’s payment for all of the applicable federal payroll and social

security taxes by using the monies accumulated from TAM’s management fees.

        76.       In fact, Varacchi did not coordinate the payment of TAM’s federal payroll and

social security taxes.




                                                -11-
     Case: 1:16-cv-04011 Document #: 1 Filed: 04/05/16 Page 12 of 25 PageID #:12



       77.     Instead, Varacchi collectively kept the monies that TAM earmarked to pay its

federal payroll and social security taxes.

       78.     Between his ATM transactions, payroll manipulations and accounting

falsifications, Varacchi embezzled over $550,000.00 from TAM.

       79.     Varacchi’s ATM transactions, payroll manipulations and accounting falsifications

were made under Concept’s supervision and with the assistance of Rhodes.

       80.     In total, between February 2012 and December 2013, Varacchi and Concept,

through Rhodes, embezzled over $980,000,000.00 from TAM for Defendants’ benefit.

       81.     TAM also suffered additional damages in the form of presently owing the federal

payroll and social security taxes that, contrary to his representations, Varacchi did not previously

pay on TAM’s behalf.

C.     Varacchi and Rhodes Leave Taran for Sentinel

       82.     In or around April 2013, TAM ceased its operations.

       83.     As a result, Concept and Rhodes stopped purporting to provide TAM with any

risk management services.

       84.     Between June 2013 and March 2015, Varacchi served as TAM’s outside chief

operations officer while TAM was in the process of restructuring its business for a relaunch.

       85.     During this period, Varacchi and Rhodes operated Sentinel, a competing hedge

fund which was formed in April 2013.

       86.     On information and belief, Varacchi and Rhodes used certain of the funds that

they embezzled from TAM to create Sentinel.

D.     TAM Uncovers Defendants’ Unlawful Misconduct

       87.     To conceal Defendants’ unlawful misconduct, Varacchi created certain security

measures to block Gleason from gaining access to TAM’s account at J.P. Morgan.

                                               -12-
    Case: 1:16-cv-04011 Document #: 1 Filed: 04/05/16 Page 13 of 25 PageID #:13



          88.   Specifically, Gleason was blocked from viewing or downloading bank statements

for TAM’s account at J.P. Morgan.

          89.   Rather, Varacchi directed Gleason to other Taran accounts at J.P. Morgan for

reference to limited partner contributions to, and withdrawals, from Taran Capital.

          90.   As a result, Varacchi kept hidden, and neither TAM nor Gleason could detect,

Varacchi’s ATM and cashier’s check transactions.

          91.   Similarly, Varacchi created falsified Convergex reports regarding TAM’s soft-

dollar line of credit account, so that neither TAM nor Gleason could detect the hundreds of

thousands of dollars that were embezzled by Varacchi and Rhodes through TAM payments to the

Sham Vendors.

          92.   During the summer of 2015, after a concerted effort, Gleason gained complete

access to the historical records of TAM’s bank account at J.P. Morgan and began to uncover the

above-referenced irregularities and misconduct.

          93.   In the fall of 2015 TAM performed an audit and investigation into irregularities

regarding the company’s books and records.

          94.   As a result of the irregularities revealed during the audit, TAM became aware of

Defendants’ above-referenced misdeeds.

                    Count I – Violation of Section 1030(a)(4) of the CFAA
                              (Against Varacchi and Sentinel)

          95.   TAM incorporates Paragraphs 1 through 94 by reference as if fully set forth

herein.

          96.   The CFAA provides a private cause of action against anyone who, knowingly and

with intent to defraud, accessed a protected computer without authorization or exceeded his




                                               -13-
    Case: 1:16-cv-04011 Document #: 1 Filed: 04/05/16 Page 14 of 25 PageID #:14



authorized access, and by means of such conduct furthered the intended fraud and obtained

valuable information. See 18 U.S.C. § 1030(a)(4).

       97.     The CFAA defines a “protected computer” as a computer “which is used in or

affecting interstate or foreign commerce or communication.” 18 U.S.C. § 1030(e)(2)(b).

       98.     The CFAA allows for a private cause of action if there is a “loss to 1 or more

persons   during    any    1-year   period    ...     aggregating   at   least   $5,000   in   value.”

18 U.S.C. § 1030(c)(4)(A)(i).

       99.     TAM’s computers are used in and affect interstate commerce by managing the

assets of the company’s clients in multiple states.

       100.    Between February 2012 and June 2013, Varacchi personally exceeded his

authorized access with the intent to defraud TAM of its funds by using TAM’s computer systems

to enrich himself, Rhodes, Concept and the Sham Vendors.

       101.    Between April 2013 and June 2013, Varacchi, on Sentinel’s behalf, did not have

TAM’s authorization to access its computer systems with the intent to defraud TAM of its funds

and to enrich Sentinel.

       102.    Between June 2013 and March 2015, Varacchi exceeded his authorized access

with intent to defraud TAM by manipulating TAM’s records so as to conceal his fraudulent

misconduct.

       103.    During the fall of 2015, TAM performed an audit and investigation into

irregularities regarding the company’s books and records.

       104.    As a result of the irregularities revealed during the audit, TAM became aware of

Varacchi’s above-referenced misdeeds.

       105.    As a result of Varacchi’s wrongdoings, TAM suffered monetary damages.



                                                    -14-
    Case: 1:16-cv-04011 Document #: 1 Filed: 04/05/16 Page 15 of 25 PageID #:15



          106.   TAM suffered — and continues to suffer — losses in excess of $5,000.00 in a

one-year period, including, without limitation, the loss of funds that Defendants embezzled for

their personal benefit and the costs to analyze and assess the extent of the wrongful taking of

information and transferring of funds from TAM’s computers, and the costs to engage a law firm

to lead the investigation into Defendants’ misdeeds.

          WHEREFORE, TAM prays for judgment in its favor and against Varacchi, for

compensatory damages, costs and prejudgment interest against Varacchi for their unauthorized

access to and fraudulent use of TAM’s computer systems, and for such other relief as the Court

deems just and proper.

                                  Count II – Violation of RICO
                             (Against all Defendants as an enterprise)

          107.   TAM incorporates Paragraphs 1 through 106 by reference as if fully set forth

herein.

          108.   This Count arises under the Racketeer Influenced and Corrupt Organizations Act,

18 U.S.C. § 1961 et seq. (“RICO”).

          109.   Section 1962(c) of RICO provides as follows:

                 It shall be unlawful for any person employed by or associated with
                 any enterprise engaged in, or the activities of which affect,
                 interstate or foreign commerce, to conduct or participate, directly
                 or indirectly, in the conduct of such enterprise’s affairs through a
                 pattern of racketeering activity or collection of unlawful debt.

18 U.S.C. § 1962(c) (West 1999).

          110.   Defendants represent an “enterprise” within the meaning of 18 U.S.C. § 1961(4)

which is engaged in, or the activities of which affect, interstate or foreign commerce.

          111.   During the period from February 2012 through June 2013, Varacchi and Concept,

through Rhodes, controlled and participated in TAM’s day-to-day operations and risk


                                                -15-
    Case: 1:16-cv-04011 Document #: 1 Filed: 04/05/16 Page 16 of 25 PageID #:16



management activities. During this period, Varacchi and Concept, through Rhodes, engaged in

multiple schemes designed to defraud and embezzle hundreds of thousands of dollars from

TAM.

       112.    Defendants engaged in or affected interstate commerce as they either transferred

or accepted the transfer of interstate wire transfers of TAM’s funds.

       113.    Moreover, Defendants accepted wire transfers of TAM’s funds at financial

institutions engaging in interstate commerce.

       114.    Throughout the relevant period, Varacchi and Concept, through Rhodes,

coordinated and effected wire transfers of TAM’s funds, for a variety of amounts, to Varacchi,

Concept, Sentinel and the Sham Vendors for Defendants’ benefit.

       115.    The amount or value of the funds embezzled by Varacchi and Concept, through

Rhodes, and transferred to Varacchi, Concept, Sentinel and the Sham Vendors for Defendants’

benefit exceeded $1,000.

       116.    Defendants’ unlawful acts of coordinating and accepting extortionate credit

transactions and fraudulent wire transfers constitute racketeering activity as that term is defined

in 18 U.S.C. § 1961(1)(B).

       117.    Defendants’    continuous,    coordinated,    related    and     repeated   fraudulent

misrepresentations, transfers and related actions constitute a pattern of racketeering activity

within the meaning of 18 U.S.C. § 1961(5).

       118.    Defendants conducted, and conspired to conduct, extensive fraudulent activities

involving extortionate credit transactions and fraudulent wire transfers of TAM’s funds through a

pattern of racketeering activity in violation of 18 U.S.C. § 1962(c) and (d).




                                                -16-
    Case: 1:16-cv-04011 Document #: 1 Filed: 04/05/16 Page 17 of 25 PageID #:17



          119.   This conspiracy manifested itself by and through Defendants’ agreement among

themselves for Varacchi and Concept, through Rhodes, to falsify invoices, bank account records,

employment records and payroll records, and to execute wire transfers of TAM’s funds to

Varacchi, Concept, Sentinel and the Sham Vendors for Defendants’ benefit.

          120.   As a direct and proximate result of the above-described violations of 18

U.S.C. § 1962(c) and (d), TAM has suffered injury to its business or property in excess of

$980,000.00.

          121.   Defendants are liable to TAM for treble damages, together with all costs of this

action plus reasonable attorneys’ fees, all as provided under 18 U.S.C. § 1964(c).

          WHEREFORE, TAM prays for: (i) judgment in its favor and against Defendants in the

total amount of all damages suffered by it by virtue of Defendants’ wrongful acts; (ii) said

judgment against Defendants to include treble damages suffered by reason of injury to TAM’s

business and property as a result of Defendants’ violations of 18 U.S.C. § 1962(c); (iii) an award

of costs, interest and attorneys’ fees incurred by TAM in bringing this action; and (iv) such other

relief that the Court deems just and equitable.

                              Count III – Breach of Fiduciary Duty
                                (Against Varacchi and Rhodes)

          122.   TAM incorporates Paragraphs 1 through 121 by reference as if fully set forth

herein.

          123.   While serving as TAM’s respective operations and risk officers, Varacchi and

Rhodes were entrusted with trade secrets, proprietary material and other confidential information

belonging to TAM.

          124.   As such, Varacchi and Rhodes owed TAM certain fiduciary duties arising from

their positions of confidence in TAM.


                                                  -17-
     Case: 1:16-cv-04011 Document #: 1 Filed: 04/05/16 Page 18 of 25 PageID #:18



          125.     The positions of Varacchi and Rhodes and the circumstances of the services

provided therefrom created a situation entitling TAM to the undivided loyalty and fidelity of

Varacchi and Rhodes during the period that they were supposed to provide such services for

TAM.

          126.     As such, Varacchi and Rhodes had a duty to act loyally and in the best interests

and for the benefit of TAM in all matters during the course of their employment.

          127.     Varacchi and Rhodes coordinated and effected various misappropriations of

TAM’s funds, for a variety of amounts, to themselves, Concept, Sentinel and the Sham Vendors

for Defendants’ benefit.

          128.     Moreover, Varacchi breached his fiduciary duties by falsifying TAM’s bank

account and payroll records, and by misappropriating TAM’s funds to himself and Defendants

for their benefit.

          129.     Varacchi’s manipulations of TAM’s bank accounts and accounting books and

records were made under Concept’s supervision and with the assistance of Rhodes.

          130.     As a result of the foregoing breaches, TAM sustained damages in an amount to be

proven at trial.

          WHEREFORE, TAM prays for judgment in its favor and against Varacchi and Rhodes,

to include compensatory damages, punitive damages, costs and prejudgment interest against

Varacchi and Rhodes for breaching their fiduciary duties to TAM, and for such other relief as the

Court deems just and proper.

                      Count IV – Aiding and Abetting Breach of Fiduciary Duty
                     (Against Concept, Skyhawk, C3, Parallel, ADI and Sentinel)

          131.     TAM incorporates Paragraphs 1 through 130 by reference as if fully set forth

herein.


                                                 -18-
     Case: 1:16-cv-04011 Document #: 1 Filed: 04/05/16 Page 19 of 25 PageID #:19



            132.   At all relevant times, Concept, Skyhawk, C3, Parallel, ADI and Sentinel knew or

should have known that Varacchi and Rhodes owed common-law duties of loyalty to TAM

including, without limitation, the duty to act in the best interests of TAM while serving in officer

positions to TAM, the duty not to conspire to injure TAM, the duty not to conspire to defraud

TAM of hundreds of thousands of dollars and the duty not to utilize TAM’s proprietary and

confidential information for their own benefit or to benefit Concept, Skyhawk, C3, Parallel, ADI

and Sentinel.

            133.   Concept, Skyhawk, C3, Parallel, ADI and Sentinel nonetheless encouraged,

coordinated, approved of and actively participated in the direction and coordination of the

wrongful conduct by Varacchi and Rhodes.

            134.   Concept, Skyhawk, C3, Parallel, ADI and Sentinel knowingly coordinated and

approved of the wrongful transfer of funds from TAM to them by Varacchi and Rhodes and

knowingly accepted said funds.

            135.   Through their actions as set forth above, Concept, Skyhawk, C3, Parallel, ADI

and Sentinel were aware of their role in actively aiding and abetting Varacchi and Rhodes in

breaching their fiduciary duties to TAM.

            136.   As a result of the foregoing, TAM sustained damages in an amount to be proven

at trial.

            WHEREFORE, TAM prays for judgment in its favor and against Concept, Skyhawk, C3,

Parallel, ADI and Sentinel, to include compensatory damages, punitive damages, costs and

prejudgment interest against Sentinel for aiding and abetting Varacchi’s and Rhodes’s breach of

their fiduciary duties to TAM, and for such other relief as the Court deems just and proper.




                                                 -19-
    Case: 1:16-cv-04011 Document #: 1 Filed: 04/05/16 Page 20 of 25 PageID #:20



                                  Count V – Unjust Enrichment
                                    (Against All Defendants)

          137.   TAM incorporates Paragraphs 1 through 94 by reference as if fully set forth

herein.

          138.   Between March 2012 and June 2013, Varacchi made withdrawals and ATM

purchases from TAM’s bank account at J.P. Morgan, for a variety of amounts, for his own

personal benefit and for the benefit of Sentinel.

          139.   Additionally, between February 2012 and June 2013, Varacchi and Concept,

through Rhodes, coordinated and effected a number of wire transfers of TAM’s funds, for a

variety of amounts, to Defendants for their benefit.

          140.   Defendants received, and unjustly retained, a certain and clear benefit in the form

of funds from TAM’s accounts which were unlawfully misappropriated by Varacchi and

Concept, through Rhodes, to the detriment of TAM.

          141.   TAM suffered a substantial detriment because the funds were misappropriated

and were never repaid to TAM.

          142.   As a result, Defendants were unjustly enriched in an amount not less than

$980,000.00.

          143.   Defendants’ retention of the benefit of those funds violates the fundamental

principles of justice, equity and good conscience.

          144.   It would be unjust for Defendants to retain the benefits derived from the funds

that Defendants unlawfully retained from TAM.

          WHEREFORE, TAM prays for judgment in its favor and against Defendants in an

amount not less than $980,000.00, including prejudgment interest against Defendants beginning

on the date of the unlawful transfers, and for such other relief as the Court deems just and proper.


                                                -20-
     Case: 1:16-cv-04011 Document #: 1 Filed: 04/05/16 Page 21 of 25 PageID #:21



                                   Count VI – Civil Conspiracy
                                    (Against All Defendants)

          145.   TAM incorporates Paragraphs 1 through 94 by reference as if fully set forth

herein.

          146.   Defendants conspired together and with one another to do an unlawful act;

namely, to embezzle, transfer and otherwise misappropriate TAM’s funds and its proprietary,

confidential information without TAM’s knowledge or consent.

          147.   Defendants executed overt acts in furtherance of the conspiracy including, for

example, the creation and/or use of the Sham Vendors by Varacchi and Concept, through

Rhodes, in order to transfer and otherwise misappropriate TAM’s funds to Defendants, as well as

Varacchi’s manipulation of TAM’s employment, payroll and accounting records in order to

further embezzle TAM’s funds and conceal Defendants’ fraudulent misconduct.

          148.   As a result of the foregoing, TAM suffered damages in an amount to be proven at

trial.

          WHEREFORE, TAM prays for a judgment in its favor and against Defendants, to

include preliminary and permanent injunctive relief, compensatory damages, punitive damages,

prejudgment interest and its attorneys’ fees and costs in filing this suit against Defendants for

their civil conspiracy, and for such other relief as the Court deems just and proper.

                            Count VII – Negligent Misrepresentation
                            (Against Varacchi, Rhodes and Concept)

          149.   TAM incorporates Paragraphs 1 through 94 by reference as if fully set forth

herein.

          150.   As set forth herein, including, for example, Paragraphs 27 to 54, 59 to 76 and 92

to 94, Varacchi and Concept, through Rhodes, made multiple false statements of material fact to

TAM with the intent that TAM rely on those misrepresentations so that TAM would continue to

                                                -21-
    Case: 1:16-cv-04011 Document #: 1 Filed: 04/05/16 Page 22 of 25 PageID #:22



employ the services of Varacchi and Concept, through Rhodes, and allow them to authorize

certain transfers of TAM’s funds without TAM’s knowledge or consent.

       151.    Specifically,   Varacchi    and    Concept,   through   Rhodes,   made   several

misrepresentations to TAM and Gleason, its managing member, regarding the propriety of

TAM’s books and records.

       152.    Additionally, Varacchi made several misrepresentations to TAM and Gleason, its

managing member, regarding the payment of federal payroll and social security taxes for TAM’s

employees.

       153.    Varacchi and Concept, through Rhodes, were careless and negligent in making

such misrepresentations.

       154.    Varacchi and Concept, through Rhodes, continued to represent to TAM that its

business operations and accounting practices were not damaged by their conduct, and they knew

that TAM would rely on such misrepresentations.

       155.    By continuing to employ the services of Varacchi and Concept, through Rhodes,

TAM did, in fact, rely on those misrepresentations to its detriment.

       156.    TAM’s reliance was reasonable, as Varacchi and Concept, through Rhodes,

provided assurances that TAM’s business operations and accounting practices were not damaged

by their conduct.

       157.    TAM was injured by its reliance on such misrepresentations by Varacchi and

Concept, through Rhodes, in an amount not less than $980,000.00.

       158.    TAM is entitled to the entry of an order and judgment against Varacchi, Rhodes

and Concept, for compensatory damages of not less than $980,000.00, and to such other and

further relief as the Court deems just.



                                                 -22-
    Case: 1:16-cv-04011 Document #: 1 Filed: 04/05/16 Page 23 of 25 PageID #:23



          WHEREFORE, TAM prays for judgment in its favor and against Varacchi, Rhodes and

Concept, for compensatory damages in an amount not less than $980,000.00, plus prejudgment

interest, and for such other relief as the Court deems just and proper.

                             Count VIII – Fraudulent Misrepresentation
                              (Against Varacchi, Rhodes and Concept)

          159.   TAM incorporates Paragraphs 1 through 130 by reference as if fully set forth

herein.

          160.   As set forth herein, including, for example, Paragraphs 27 to 94, Varacchi and

Concept, through Rhodes, made multiple false statements of material fact to TAM with the intent

that TAM rely on those misrepresentations so that TAM would continue to employ the services

of Varacchi, Concept and Rhodes and allow them to authorize certain transfers of TAM’s funds

without TAM’s knowledge or consent.

          161.   Specifically, between February 2012 and June 2013, Varacchi and Concept,

through Rhodes, made several misrepresentations to TAM and Gleason, its managing member,

regarding the propriety of TAM’s books and records.

          162.   Additionally, during that same period, Varacchi made several misrepresentations

to TAM and Gleason, its managing member, regarding the payment of federal payroll and social

security taxes for TAM’s employees.

          163.   Varacchi and Concept, through Rhodes, knew that said misrepresentations of

material facts were false.

          164.   Varacchi and Concept, through Rhodes, continued to represent to TAM that its

business operations and accounting practices were not damaged by their conduct, and they knew

that TAM would rely on such misrepresentations.




                                                -23-
    Case: 1:16-cv-04011 Document #: 1 Filed: 04/05/16 Page 24 of 25 PageID #:24



          165.   By continuing to employ the services of Varacchi and Concept, through Rhodes,

TAM did in fact rely on those misrepresentations to its detriment.

          166.   TAM’s reliance was reasonable, as Varacchi and Concept, through Rhodes,

provided assurances that TAM’s business operations and accounting practices were not damaged

by their conduct.

          167.   TAM was injured by its reliance on such misrepresentations by Varacchi, Rhodes

and Concept in an amount not less than $980,000.00.

          168.   TAM is entitled to the entry of an order and judgment in its favor and against

Varacchi, Rhodes and Concept, for compensatory damages of not less than $980,000.00, and for

such other and further relief as the Court deems just.

          WHEREFORE, TAM prays for judgment in its favor and against Varacchi, Rhodes and

Concept, for compensatory damages in an amount not less than $980,000.00, plus prejudgment

interest and its attorneys’ fees and costs in filing this suit against Varacchi, Rhodes and Concept

as a result of their fraudulent misconduct, and for such other relief as the Court deems just and

proper.




                                                -24-
     Case: 1:16-cv-04011 Document #: 1 Filed: 04/05/16 Page 25 of 25 PageID #:25



Dated: April 5, 2016                      Respectfully submitted,

                                          TARAN ASSET MANAGEMENT, LLC



                                          By:    /s/ Michael A. Chabraja
                                                           One of Its Attorneys

Michael A. Chabraja
Brian W. Ledebuhr
Vedder Price P.C.
222 North LaSalle Street
Chicago, Illinois 60601
T: +1 (312) 609 7500
F: +1 (312) 609 5005
mchabraja@vedderprice.com
bledebuhr@vedderprice.com

Counsel for Plaintiff




                                        -25-
